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                  UNITED STATES BANKRUPTCY COURT
                   NORTHERN DISTRICT OF FLORIDA
                       PANAMA CITY DIVISION

In re:

DAHLIA ANDREEN HARRISON,                              Case No.: 18-50089-KKS
                                                      Chapter: 13
               Debtor.
___________________________________/

          ORDER SCHEDULING NON-EVIDENTIARY HEARING
            TO ANNOUNCE RULING ON ORDER TO SHOW
                       CAUSE (DOC. 229)

         THIS MATTER is before the Court on the Order to Show Cause

(“OTSC”) portion of a Memorandum Opinion and Final Order entered on

March 8, 2019; and the Response and Reply filed thereto (Docs. 229, 233,

239 and 240). 1

         The Court has determined that it will not issue any Rule 9011

sanctions in the form of an additional monetary award in favor of Debtor.

For that reason, Debtor is not required to appear or participate in the


1 Memorandum Opinion Granting Debtor’s Sanctions Motion and Final Order Awarding
Actual and Punitive Damages for Willful Violations of the Automatic Stay (Doc. 78); and
Order to Show Cause Why Additional Sanctions Should Not be Imposed Against Deltona's
Bankruptcy Counsel Pursuant to Bankruptcy Rule 9011 (Doc. 229), A. Clay Milton and H.
Matthew Fuqua, of Fuqua & Milton, P.A.’s Response to the Courts [sic] Order to Show Cause
Why Additional Sanctions Should Not be Imposes [sic] Against Deltona’s Bankruptcy
Counsel Pursuant to Rule 9011 (Doc. 229) (Doc. 233) and Debtor Dahlia Andreen Harrison’s
Reply to Deltona’s Bankruptcy Counsel A. Clay Milton and H. Matthew Fuqua Response to
the Court’s Order to Show Cause (OTSC) Why Additional Sanctions Should Not be Imposed
Against Them Pursuant to Rule 9011 (Doc. 229) (Docs. 239 and 240).


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hearing. Rather than issue another written ruling, the Court deems it

appropriate to conduct a hearing at which it intends to solicit further

input from Deltona’s bankruptcy counsel and announce its ruling on the

remaining issue.

       For the reasons stated, it is,

       ORDERED:               The Court will conduct a final, non-evidentiary

hearing on the OTSC on September 10, 2019 at 10:30 A.M. Eastern Time

at the United States Bankruptcy Courthouse, 110 E. Park Ave.,

Tallahassee, FL 32312.

                             July 29, 2019
       DONE AND ORDERED on ___________________________.



                                                    KAREN K. SPECIE
                                                    Chief U. S. Bankruptcy Judge
Cc: All parties in interest

Counsel for Deltona’s bankruptcy counsel, Lewis M. Killian, Jr., Esq., is directed to serve a
copy of this Order on interested parties and file a proof of service within three (3) days of this
Order.




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